         Case 1:18-cv-01556-TSC Document 12 Filed 09/17/18 Page 1 of 6




                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

                                    |
BUZZFEED INC.,                      |
                                    |
                Plaintiff,          |
                                    |
           v.                       |                Civil Action No. 18-CV-01556 (TSC)
                                    |
U.S. DEPARTMENT OF JUSTICE, et al., |
                                    |
                Defendants.         |
                                    |

                                 ANSWER AND DEFENSES

       Defendants, the U.S. Department of Justice (“DOJ”) and the Federal Bureau of Prisons

(“BOP”) (collectively, “Defendants”), hereby answer the claims brought under the Freedom of

Information Act (“FOIA”) by Plaintiff Buzzfeed Inc. as follows:

                                        FIRST DEFENSE

       Defendants reserve the right to amend this Answer to assert any other matter that

constitutes an avoidance or affirmative defense under Federal Rule of Civil Procedure 8(c).

                                      SECOND DEFENSE

       Any relief is limited to that provided for in 5 U.S.C. § 552(a)(4)(B).

                                       THIRD DEFENSE

       Plaintiff is not entitled to compel the production of responsive records protected from

disclosure by one or more of the exemptions or exclusions to FOIA, 5 U.S.C. § 552, or the Privacy

Act, 5 U.S.C. § 552a.
            Case 1:18-cv-01556-TSC Document 12 Filed 09/17/18 Page 2 of 6



                                           FOURTH DEFENSE

          As to some or all of the claims asserted in this action, Plaintiff has failed to state a claim

upon which relief may be granted under FOIA.

                                             FIFTH DEFENSE

          Plaintiff is not entitled to attorneys’ fees or costs.

                                            SIXTH DEFENSE

          Defendants have conducted adequate searches in response to the underlying requests under

FOIA, 5 U.S.C. § 552, as amended, or otherwise are in the process of completing searches.

Defendants further aver that some or all of the requested records may be exempt, in full or in part,

from release under FOIA exemptions.

                                          SEVENTH DEFENSE

          Defendants deny each and every allegation contained in the Complaint except as may have

been expressly admitted herein. To the extent the Complaint refers to or quotes from external

documents, statutes, or other sources, Defendants may refer to such materials for their accurate

and complete contents in response; however, Defendants’ references are not intended to be, and

should not be construed to be, an admission that the cited materials: (a) are correctly cited or quoted

by Plaintiff; (b) are relevant to this, or any other, action; or (c) are admissible in this, or any other,

action.




                                                      2
               Case 1:18-cv-01556-TSC Document 12 Filed 09/17/18 Page 3 of 6



                                             COMPLAINT 1

          1.       The allegations in Paragraph 1 constitute Plaintiff’s characterization of its case and

the nature of the action to which no response is required.

                                                    PARTIES

          2.       Defendants lack knowledge or information sufficient to admit or deny the

allegations contained in Paragraph 2.

          3.       Admit.

          4.       Admit.

                                        JURISDICTION AND VENUE

          5.       This paragraph contains conclusions of law to which no response is required. To

the extent that a response is deemed necessary, Defendants admit only that this Court has

jurisdiction subject to the limitations of FOIA. Defendants aver that the statute cited speaks for

itself.

          6.       This paragraph contains conclusions of law to which no response is required. To

the extent that a response is deemed necessary, Defendants admit only that venue is proper in this

judicial district. Defendants further aver that the statute cited speaks for itself

                                                BACKGROUND

          7.       Defendants lack knowledge or information sufficient to admit or deny the

allegations contained in Paragraph 7. To the extent a response is deemed necessary, Defendants

aver that the allegations contained in Paragraph 7 are immaterial to Plaintiff’s legal claims and on


1Merely for ease of reference, Defendants’ Answer replicates the headings contained in the Complaint.
Although Defendants believe that no response is required to such headings, to the extent a response is
deemed required and to the extent those headings and titles could be construed to contain factual
allegations, those allegations are denied.
                                                   3
             Case 1:18-cv-01556-TSC Document 12 Filed 09/17/18 Page 4 of 6



that basis deny the allegations. Defendants further aver that the external sources cited speak for

themselves and respectfully refer the Court to those sources for a full and accurate statement of

their contents.

        8.        Defendants lack knowledge or information sufficient to admit or deny the

allegations contained in Paragraph 8. To the extent a response is deemed necessary, Defendants

aver that the allegations contained in Paragraph 8 are immaterial to Plaintiff’s legal claims and on

that basis deny the allegations. Defendants further aver that the external sources cited speak for

themselves and respectfully refer the Court to those sources for a full and accurate statement of

their contents.

        9.        Defendants lack knowledge or information sufficient to admit or deny the

allegations contained in Paragraph 9. To the extent a response is deemed necessary, Defendants

aver that the allegations contained in Paragraph 9 are immaterial to Plaintiff’s legal claims and on

that basis deny the allegations. Defendants further aver that the external sources cited speak for

themselves and respectfully refer the Court to those sources for a full and accurate statement of

their contents.

                                   DEFENDANTS’ FOIA VIOLATION

        10.       This paragraph contains Plaintiff’s characterization of its FOIA request. Defendants

aver that the request speaks for itself and respectfully refer the Court to the request for a full and

accurate statement of its contents.

        11.       This paragraph contains Plaintiff’s characterization of a letter denying its FOIA

request. Defendants aver that the letter speaks for itself and respectfully refer the Court to the letter

for a full and accurate statement of its contents.


                                                     4
          Case 1:18-cv-01556-TSC Document 12 Filed 09/17/18 Page 5 of 6



       12.     This paragraph contains Plaintiff’s characterization of an appeal determination.

Defendants aver that the appeal determination speaks for itself and respectfully refer the Court to

the appeal determination for a full and accurate statement of its contents.

       13.     This paragraph contains conclusions of law to which no response is required. To

the extent that a response is required, deny.

                                  COUNT I – VIOLATION OF FOIA

       14.     Defendants incorporate their responses to Paragraphs 1 through 13 set forth above.

       15.     Admit.

       16.     Admit that Plaintiff submitted a FOIA request to Defendants.

       17.     This paragraph contains conclusions of law to which no response is required.

       18.     Admit.

       The remainder of Plaintiff’s Complaint contains Plaintiff’s requested relief to which no

response is required. To the extent that this paragraph may be deemed to contain factual

allegations, they are denied.


Dated: September 17, 2018              Respectfully submitted,

                                       JESSIE K. LIU, D.C. Bar No. 472845
                                       United States Attorney

                                        DANIEL F. VAN HORN, D.C. Bar No. 924092
                                        Chief, Civil Division

                                     By: /s/ Scott Leeson Sroka
                                       SCOTT LEESON SROKA, Member of New York Bar
                                       Assistant United States Attorney
                                       555 Fourth Street, N.W.
                                       Washington, D.C. 20530
                                       Telephone: 202-252-7113
                                       Email: Scott.Sroka@usdoj.gov
                                                 5
          Case 1:18-cv-01556-TSC Document 12 Filed 09/17/18 Page 6 of 6



                             CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on this 17th day of September, 2018, that service of the

foregoing Defendants’ Answer has been made on counsel of record through the Court’s ECF

system.



                                          /s/ Scott Leeson Sroka
                                         SCOTT LEESON SROKA
                                         Assistant United States Attorney
                                         555 Fourth Street, N.W.
                                         Washington, D.C. 20530
                                         Office: (202) 252-7113
                                         Email: Scott.Sroka@usdoj.gov




                                            1
